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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


 IN RE:                                               Case No. ____________________

 EX PARTE APPLICATION PURSUANT TO                            FILED EX PARTE
 28 U.S.C. §1782 FOR AN ORDER TO
 TAKE DISCOVERY OF GAURAV PATEL                        (Document Filed Electronically)
 FOR USE IN A FOREIGN PROCEEDING


                  EX PARTE APPLICATION PURSUANT TO 28 U.S.C. § 1782
                       FOR AN ORDER TO TAKE DISCOVERY OF
                  GAURAV PATEL FOR USE IN A FOREIGN PROCEEDING

        Based upon this application, concurrently filed Memorandum of Law, and Declaration of

Robert K. Campbell (“Campbell Decl.”), the following individuals and entities: (1) Oak Trust,

(2) Acorn Trust, (3) Eagle Trust, (4) Duffy Trust, (5) Robert J. Parfet Living Trust, (6) Geluk

Global Fund Limited SAC (a company incorporated in the Bahamas), (7) Migration Investments,

LLC (a Colorado, US LLC ), (8) Boustrophedon International Ltd (a company incorporated in

Hong Kong), (9) Michael R. Shea, (10) Erin Shea, (11) Angela Ling, (12) Fuhua Ling, (13) Philip

Bullock, (14) Lifang Liu, (15) Justin Payne, (16) Michael Dietzen, (17) Kimberly J. Dietzen,

(18) Brian Sly, (19) David K. Sly, (20) Gregory Sly, (21) Karen Sly, (22) Nelson Sly, (23) Helen

S. Sly, (24) Sly Family Trust, and (25) Tamara A. Sly Separate Property Trust (together the

“Applicants”), by and through their attorneys Faegre Drinker Biddle & Reath LLP, apply to this

Court pursuant to 28 U.S.C. § 1782 for an Order granting them leave to serve targeted discovery,


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in compliance with all relevant provisions of Fed. R. Civ. P. 45, and in the same form as the

Subpoena Duces Tecum, and Subpoena Ad Testificandum, attached hereto as Exhibits A and B1,

upon Gaurav Patel (“Patel”), whose personal residence is located within this district at 18 Parkside

Drive, Parsippany, NJ 07054, permitting Applicants to obtain documents and testimony for use in

an anticipated foreign proceeding in which they will be claimants. Applicants request that the

Court grant them leave ex parte. This is the normal procedure for Section 1782 applications, and

Patel, as respondent to this Application, retains the ability to respond to the subpoenas attached to

this Application as Exhibits A and B pursuant to the governing discovery rules, and/or to object

pursuant to Fed. R. Civ. P. 45(c)(3).

        Applicants expect to be claimants in an anticipated proceeding in the High Court of

England and Wales in London, England (the “U.K. Proceeding”). See Campbell Decl., ¶¶ 3, 7-11.

Patel is not expected to be a party to the U.K. Proceeding. See Campbell Decl., ¶ 13. Applicants

have not yet been provided copies of the documents they seek pursuant to the Subpoena Duces

Tecum, attached hereto as Exhibit A, or an opportunity to elicit the testimony described in the

Subpoena Ad Testificandum attached hereto as Exhibit B. See Campbell Decl., ¶ 20.

        As more fully detailed in Applicant’s Memorandum of Law and the Declaration of Robert

K. Campbell accompanying this Application, the documents and testimony Applicants seek from

Patel are believed to contain key information relevant to formulating their claims in the anticipated

U.K. Proceeding. Id. ¶¶ 14-16. More specifically, Applicants seek documents and testimony




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  As drafted and attached hereto, the Document Subpoena and Deposition Subpoena do not contain
specific dates for compliance, as such dates setting forth the time period in which respondent are
to comply, cannot be populated until such time as an order may be granted authorizing their
service. Accordingly, as reflected in the attached proposed order, upon entry of an order granting
the relief requested herein, counsel for Applicants would anticipate revising Exhibits A and B to
reflect compliance dates in accordance therewith.
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believed to support their allegations that the wrongful conduct of Equiti Capital UK Limited

(“Equiti UK”) in connection with its facilitation and concealment of a fraudulent Forex trading

scheme (“the Mediatrix Fraud”) operated by Mediatrix Capital Inc. (“Mediatrix”) and Blue Isle

Markets Inc. (“Blue Isle 1”) and its successor, Blue Isle Markets Ltd. (“Blue Isle 2”) (collectively

referred to as “Blue Isle”), in which Applicants invested, resulted in their suffering significant

financial losses. Id. Under the Civil Practice Rules 1998 governing procedure in the High Court

of England and Wales (“the CPR”), Applicants have served Equiti UK with a formal “Letter of

Claim,” detailing certain factual and legal bases to support their claims against Equiti UK pursuant

to the laws of England and Wales, including claims for damages and/or equitable compensation

under various legal theories stemming from Equiti UK’s role in connection with Blue Isle /

Mediatrix’s fraud. Id., ¶ 9.

        As set forth in the accompanying Memorandum of Law and Campbell Declaration,

Applicants satisfy the statutory elements of 28 U.S.C. § 1782. The discretionary factors identified

in Intel Corp. v. Advanced Micro Devices, Inc. also favor granting the relief requested herein. 542

U.S. 241, 264-65, 124 S. Ct. 2466, 2483 (2004). The statutory elements are satisfied because Patel

resides and is found in this District, the claims that Applicants expect to file in the U.K. constitute

a reasonably anticipated proceeding before a foreign tribunal (see Campbell Decl., ¶¶ 7-12), and

Applicants seek documents and testimony for use in that proceeding.

        As for Intel’s discretionary factors, the discovery sought through this Application is not

otherwise accessible to Applicants—including because Patel is not expected to be a party to the

U.K. Proceeding or otherwise subject to the jurisdiction of the High Court of England and Wales,

see id., ¶¶ 13, 19. In addition, production of the requested discovery will not circumvent any

policies of the United Kingdom or United States, or violate any court order or directive. Id. ¶ 20.



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Further, the CPR contemplates that parties to proceedings in the High Court of England and Wales

will engage in discovery and allows for the submission of documentary evidence. Accordingly, it

is anticipated that discovery collected through this Application will be admissible in the context

of the U.K. Proceeding. See id., ¶¶ 17-18. Further, the requests to Patel, attached hereto as Exhibits

A and B, are specific and narrowly tailored, and, thus, Patel’s production in response thereto is

therefore not anticipated to be unduly intrusive or burdensome. Patel may also avail himself of the

protections available to any third-party subpoena respondent under the Federal Rules of Civil

Procedure to shield privileged and proprietary information from disclosure. The filing of the U.K.

Proceeding is also reasonably anticipated, as confirmed by Applicants’ issuance of a Letter of

Claim to Equiti UK. Id., ¶¶ 3, 7-11.

        Moreover, the burden on Patel to respond to the attached subpoenas is minimal to the extent

he is being commanded to produce documents already preserved, identified and/or produced in

other litigation involving the same operative facts. For instance, the U.S. Securities and Exchange

Commission has conducted an investigation and initiated litigation against Mediatrix and Blue Isle

for the fraud Applicants assert Equiti UK facilitated. That litigation remains pending in the United

States District Court for the District of Colorado.2 Patel provided deposition testimony in the SEC

litigation. To the extent Patel has collected and/or produced documents related to his deposition

testimony or otherwise related to the SEC investigation or litigation, it would not be burdensome

for Patel to reproduce such documents in response to the attached subpoenas.




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 See United States Securities and Exchange Commission v. Mediatrix Capital Inc. et al, No. 1:19-
cv-02594-RM-SKC (D. Colo. filed Sept. 12, 2019).
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         For these reasons, Applicants respectfully request that this Court grant their Application

for an Order giving them leave to serve upon Patel the Subpoenas attached hereto as Exhibits A

and B.

 Dated: February 18, 2021                     FAEGRE DRINKER BIDDLE & REATH LLP

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                      CERTIFICATION PURSUANT TO L. CIV. R. 11.2

        I hereby certify to the best of my knowledge, information, and belief that the application

for discovery of Gaurav Patel for use in a foreign proceeding is not the subject of any other action

pending in any court, or of any pending arbitration or administrative proceeding. As set forth in

the accompanying Memorandum of Law and Declaration of Robert K. Campbell, the underlying

claims for which discovery is sought are expected to be brought in the High Court of England and

Wales in London, England.

        I certify under penalty of perjury that the foregoing is true and correct.

 Dated: February 18, 2021                      FAEGRE DRINKER BIDDLE & REATH LLP

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